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 6
                             UNITED STATES DISTRICT COURT
 7                          WESTERN DISTRICT OF WASHINGTON
                                      AT SEATTLE
 8

 9   UNITED STATES OF AMERICA,                            NO. CR12-196-RSL

10                                 Plaintiff,

11          v.                                            DETENTION ORDER
12   MARCOS MEJIA,
13
                                   Defendant.
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15   Offense charged:
16          Count 3:        Conspiracy to Structure Financial Transactions, in violation of 31 U.S.C.
17                          §§ 5324(a)(1) and 5324(a)(3).

18   Date of Detention Hearing: November 15, 2012.
            The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and
19
     based upon the factual findings and statement of reasons for detention hereafter set forth, finds:
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21          FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

22          1.      Defendant has stipulated to detention due to a writ, but reserves the right to

23   contest his continued detention if there is a change in circumstances.

24          2.      There are no conditions or combination of conditions other than detention that

25   will reasonably assure the appearance of defendant as required or ensure the safety of the

26   community.


     DETENTION ORDER
     18 U.S.C. § 3142(i)
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           IT IS THEREFORE ORDERED:
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           (1)   Defendant shall be detained and shall be committed to the custody of the
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                 Attorney General for confinement in a correction facility separate, to the extent
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                 practicable, from persons awaiting or serving sentences or being held in custody
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                 pending appeal;
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           (2)   Defendant shall be afforded reasonable opportunity for private consultation with
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                 counsel;
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           (3)   On order of a court of the United States or on request of an attorney for the
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                 government, the person in charge of the corrections facility in which defendant
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                 is confined shall deliver the defendant to a United States Marshal for the
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                 purpose of an appearance in connection with a court proceeding; and
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           (4)   The Clerk shall direct copies of this Order to counsel for the United States, to
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                 counsel for the defendant, to the United States Marshal, and to the United States
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                 Pretrial Services Officer.
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           DATED this 15th day of November, 2012.
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17                                             AJAMES P. DONOHUE
18                                              United States Magistrate Judge
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     DETENTION ORDER
     18 U.S.C. § 3142(i)
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